Case 19-11278-amc          Doc 39   Filed 05/15/20 Entered 05/15/20 09:52:44             Desc Main
                                    Document     Page 1 of 4




                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                  PHILADELPHIA DIVISION

   In re:
                                                               Bankruptcy No. 19-11278-amc
   Malika S. Jones,
                                                               Chapter 13
             Debtor ,
   Wilmington Savings Fund Society, FSB, d/b/a Christiana      Hearing Date: June 9, 2020
   Trust, not individually but as trustee for Pretium          Hearing Time: 11:00 a.m.
   Mortgage Acquisition Trust,                                 Location: 900 Market Street,
                                                               Courtroom #4, Philadelphia, PA 19107
            Movant,
   v.
   Malika S. Jones,
            Debtor/Respondent,
   William C. Miller, Esquire
            Trustee/Respondent



  MOTION OF WILMINGTON SAVINGS FUND SOCIETY, FSB, D/B/A CHRISTIANA
    TRUST, NOT INDIVIDUALLY BUT AS TRUSTEE FOR PRETIUM MORTGAGE
  ACQUISITION TRUST FOR RELIEF FROM THE AUTOMATIC STAY TO PERMIT
  WILMINGTON SAVINGS FUND SOCIETY, FSB, D/B/A CHRISTIANA TRUST, NOT
   INDIVIDUALLY BUT AS TRUSTEE FOR PRETIUM MORTGAGE ACQUISITION
       TRUST TO FORECLOSE ON 5946 CEDAR AVENUE, PHILADELPHIA,
                          PENNSYLVANIA 19143


        Secured Creditor, Wilmington Savings Fund Society, FSB, d/b/a Christiana Trust, not

 individually but as trustee for Pretium Mortgage Acquisition Trust, by and through the undersigned

 counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d), for a modification of the

 automatic stay provisions for cause, and, in support thereof, states the following:

    1. Debtor(s), Malika S. Jones, filed a voluntary petition pursuant to Chapter 13 of the United

        States Bankruptcy Code on March 1, 2019.

    2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C. § 1334,

        11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and statutes

                                                                                          19-11278-amc
                                                                                       JONES, MALIKA
                                                                                                  MFR
Case 19-11278-amc       Doc 39    Filed 05/15/20 Entered 05/15/20 09:52:44              Desc Main
                                  Document     Page 2 of 4




       affecting the jurisdiction of the Bankruptcy Courts generally.

    3. On April 30, 2007, Malika S. Jones executed and delivered a Promissory Note (“Note”)

       and Mortgage (“Mortgage”) securing payment of the Note in the amount of $89,900.00 to

       Lincoln Mortgage Company, A Pennsylvania Corporation. A true and correct copy of the

       Note is attached hereto as Exhibit “A.”

    4. The Mortgage was recorded on May 4, 2007 in Document Number 51686279 of the Public

       Records of Philadelphia County, Pennsylvania. A true and correct copy of the Mortgage

       is attached hereto as Exhibit “B.”

    5. The Mortgage was secured as a lien against the Property located at 5946 Cedar Avenue,

       Philadelphia, Pennsylvania 19143, (“the Property”).

    6. A loan modification was entered into on October 14, 2015, creating a new principal balance

       of $141,736.86. A true and correct copy of the Agreement is attached hereto as Exhibit

       “C.”

    7. The loan was lastly assigned to Wilmington Savings Fund Society, FSB, d/b/a Christiana

       Trust, not individually but as trustee for Pretium Mortgage Acquisition Trust and same was

       recorded with the Philadelphia County Recorder of Deeds on March 24, 2020 as Document

       Number 53650671. A true and correct copy of the Assignment of Mortgage is attached

       hereto as Exhibit “D.”

    8. Based upon the Debtor(s)’ Chapter 13 Amended Plan (Docket No. 23), post-petition

       payments on Secured Creditor's loan shall be paid directly by the debtor. A true and correct

       copy of the Chapter 13 Amended Plan is attached hereto as Exhibit “E.”

    9. Debtor has failed to make the monthly payments of principal, interest, and escrow to

       Secured Creditor in the amount of $706.69 which came due on December 1, 2019, January


                                                                                         19-11278-amc
                                                                                      JONES, MALIKA
                                                                                                 MFR
Case 19-11278-amc        Doc 39     Filed 05/15/20 Entered 05/15/20 09:52:44               Desc Main
                                    Document     Page 3 of 4




        1, 2020, February 1, 2020, March 1, 2020, April 1, 2020, and May 1, 2020, respectively.

    10. Thus, Debtor(s)’ post-petition arrearage totaled the sum of $4,105.20 through May 1, 2020.

    11. Under Section 362(d)(1) of the Code, the Court shall grant relief from the automatic stay

        for “cause” which includes a lack of adequate protection of an interest in property.

        Sufficient “cause” for relief from the stay under Section 362(d)(1) is established where a

        debtor has failed to make installment payments or payments due under a court-approved

        plan, on a secured debt, or where the Debtor(s) have no assets or equity in the Mortgaged

        Property.

    12. As set forth herein, Debtor has defaulted on his secured obligation as he has failed to make

        his monthly post-petition installment payments.

    13. As a result, cause exists pursuant to 11 U.S.C. § 362(d) of the Code for this Honorable

        Court to grant relief from the automatic stay to allow Secured Creditor, its successor and/or

        assignees to pursue its state court remedies, including the filing of a foreclosure action.

    14. Additionally, once the stay is terminated, the Debtor(s) will have minimal motivation to

        insure, preserve, or protect the collateral; therefore, Secured Creditor requests that the

        Court waive the 14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

        WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

 the automatic stay under 11 U.S.C. § 362(d) to permit Wilmington Savings Fund Society, FSB,

 d/b/a Christiana Trust, not individually but as trustee for Pretium Mortgage Acquisition to take

 any and all steps necessary to exercise any and all rights it may have in the collateral described




                                                                                            19-11278-amc
                                                                                         JONES, MALIKA
                                                                                                    MFR
Case 19-11278-amc        Doc 39     Filed 05/15/20 Entered 05/15/20 09:52:44               Desc Main
                                    Document     Page 4 of 4




 herein, to gain possession of said collateral, to seek recovery of its reasonable attorneys’ fees and

 costs incurred in this proceeding, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3),

 and for any such further relief as this Honorable Court deems just and appropriate.

 Date: May 15, 2020

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                                                                                            19-11278-amc
                                                                                         JONES, MALIKA
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